     Case
      Case2:13-cr-00355-GMN-CWH
            2:13-cr-00355-GMN-CWH Document
                                  Document164  Filed02/13/15
                                           163 Filed 02/17/15 Page
                                                               Page11
                                                                    ofof
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 5
                                UNITED STATES DISTRICT COURT
 6                                   DISTRICT OF NEVADA
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 8    UNITED STATES OF AMERICA,                          Case No. 2:13-cr-00355-01-GMN-CWH
 9                          Plaintiff,                   GOVERNMENT’S UNOPPOSED MOTION
                                                         AND PROPOSED ORDER RELATING TO
10    vs.                                                DISSEMINATION OF DISCOVERY FOR
                                                         DEFENDANT
11    GREGORY VILLEGAS,
12                          Defendant.
13

14           The United States submits this unopposed motion seeking entry of an order giving effect to
15    this Court’s previous order governing dissemination of discovery (Doc. 73) while the defendant is
16    incarcerated. The proposed order will enable the defendant to view discovery materials without
17    unduly burdening the facility by requiring personal supervision or the collection and storage of
18    notes. Counsel for the defendant has reviewed the proposed order and agrees to its terms and
19    conditions.
20           DATED this 13th day of February, 2015.
21                                                 Respectfully Submitted,
                                                   DANIEL G. BOGDEN
22                                                 United States Attorney
23                                                 /s/ Christina M. Brown
                                                   CHRISTINA M. BROWN
24                                                 Assistant U.S. Attorney
     Case
      Case2:13-cr-00355-GMN-CWH
            2:13-cr-00355-GMN-CWH Document
                                  Document164  Filed02/13/15
                                           163 Filed 02/17/15 Page
                                                               Page22
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                                  UNITED STATES DISTRICT COURT
 6                                     DISTRICT OF NEVADA
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 8    UNITED STATES OF AMERICA,
                                                             Case No. 2:13-cr-00355-01-GMN-CWH
 9                            Plaintiff,
                                                             ORDER REGARDING VIEWING OF
10    vs.                                                    DISCOVERY MATERIALS
11    GREGORY VILLEGAS,
12                            Defendant.
13

14    Motion having been made and good cause appearing therefore:

15            IT IS HEREBY ORDERED that the defendant, Gregory Villegas, who is presently in federal custody

16    at the Southern Nevada Detention Center, shall be given reasonable access to a computer not connected to the

17    internet for the sole purpose of allowing him to view an external hard drive, DVD or CD provided by defense

      counsel, Gabriel Grasso, Esq., to permit the defendant to review discovery materials while incarcerated.
18
              IT IS FURTHER ORDERED that personnel with the Southern Nevada Detention Facility shall
19
      provide to and collect back from the defendant said external hard drive, DVD or CD containing discovery
20
      materials prior to and following each discovery viewing session and securely store the device between
21
      viewing sessions.
22
              IT IS FURTHER ORDERED that the defendant shall not be permitted to take notes during his
23
      ///
24
     Case
      Case2:13-cr-00355-GMN-CWH
            2:13-cr-00355-GMN-CWH Document
                                  Document164  Filed02/13/15
                                           163 Filed 02/17/15 Page
                                                               Page33
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 1    viewing of the discovery, or duplicate, print, otherwise copy, or permit others to review or access the

 2    material.

 3            DATED
              DATED:thisFebruary
                         _____ day17,
                                   of ___________________,
                                       2015                2015.

 4
                                                                ______________________________________
 5                                                              UNITED  STATES
                                                                United States   DISTRICTJudge
                                                                              Magistrate JUDGE

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